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              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION
 ________________________________

 UNITED STATES OF AMERICA,                  No. 17-cr-20274

             Plaintiff,                     Honorable Bernard A. Friedman

 v.                                         MOTION TO DISMISS
                                            COUNTS ONE, TWO,
 JUMANA NAGARWALA, D-1,                     THREE, FOUR, AND FIVE
 FAKHRUDDIN ATTAR, D-2,
 and
 FARIDA ATTAR, D-3,

           Defendants.
 __________________________________

       Jumana Nagarwala, M.D., Fakhruddin Attar, M.D., and Farida

 Attar, move this Court to dismiss Counts 1, 2, 3, 4, and 5 of the

 Indictment because Congress lacked the authority to enact 18 U.S.C. §

 116(a), as explained in the accompanying brief. Concurrence from the

 government was sought for the instant motion but denied.

                                    Respectfully submitted,

 Dated: 7/27/2018                   /s/ Shannon M. Smith
                                    SHANNON M. SMITH
                                    Attorney for Jumana Nagarwala

 Dated: 7/27/2018                   /s/ Molly Blythe
                                    MOLLY BLYTHE
                                    Attorney for Jumana Nagarwala


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 Dated: 7/27/2018                   /s/ Mary Chartier
                                    MARY CHARTIER
                                    Attorney for Fakhruddin Attar

 Dated: 7/27/2018                   /s/ Matthew Newburg
                                    MATTHEW NEWBURG
                                    Attorney for Farida Attar




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              UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION
 ________________________________

 UNITED STATES OF AMERICA,                     No. 17-cr-20274

             Plaintiff,                        Honorable Bernard A. Friedman

 v.                                            BRIEF IN SUPPORT OF
                                               MOTION TO DISMISS
 JUMANA NAGARWALA, D-1,                        COUNTS ONE, TWO,
 FAKHRUDDIN ATTAR, D-2,                        THREE, FOUR, AND FIVE
 and
 FARIDA ATTAR, D-3,

           Defendants.
 __________________________________

       Count 1 of the indictment charges Jumana Nagarwala, M.D.,

 Fakhruddin Attar, M.D., Farida Attar, and others with conspiracy to

 commit female genital mutilation (FGM) in violation of 18 U.S.C. § 371.

 Counts 2, 3, 4, and 5 charge FGM in violation of 18 U.S.C. § 116(a).1 Dr.

 Nagarwala is charged in counts 2, 3, 4, and 5. Dr. Attar is charged in

 counts 2 and 3. Mrs. Attar is charged in counts 2, 3, and 4. Counts 1, 2,

 3, 4, and 5 should be dismissed because Congress lacked the authority

 to enact 18 U.S.C. § 116(a), as explained in detail below.


 																																																								
 1 The government also includes the aiding or abetting statute, 18 U.S.C. § 2 as part

 of the indictment for counts 2, 3, 4, and 5.

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                                      Analysis
 	
     I.     Congress lacked authority to enact 18 U.S.C. § 116(a);
            thus, the female genital mutilations charges must be
            dismissed.

          Congress lacked the authority to enact 18 U.S.C. § 116(a) for a

 number of significant reasons.

     1. Congress could not have enacted 18 U.S.C. § 116(a) pursuant to

          Section 5 of the Fourteenth Amendment. Section 5 of the

          Fourteenth Amendment only applies to state action. None of the

          accused are state actors.

     2. Congress could not have enacted 18 U.S.C. § 116(a) pursuant to a

          treaty because 18 U.S.C. § 116(a) regulates private conduct and

          the most applicable treaties are limited to acts occurring at the

          hand of state or government officials. Thus, 18 U.S.C. § 116(a) was

          not enacted pursuant to a power granted by the ratification of a

          treaty.

     3. Congress could not have enacted 18 U.S.C. § 116(a) pursuant to

          Section 8 of Article I of the Constitution, specifically the

          Commerce Clause. The statute was not enacted to regulate an

          activity having a substantial relationship to interstate commerce.



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       Notably, FGM is not an economic or commercial activity. Instead,

       18 U.S.C. § 116(a) is a criminal statute that has nothing to do with

       commerce or any sort of economic enterprise.

     4. And, finally, Congress could not have enacted 18 U.S.C. § 116(a)

       pursuant to the Necessary and Proper Clause, as the clause is not

       an independent power. See M’Culloch v. Maryland, 17 U.S. 316,

       323-324 (1819). It only grants Congress the authority to enact

       legislation necessary to its enumerated powers. United States v.

       Comstock, 560 U.S. 126, 133 (2010).

       Respectfully, because Congress did not have the power to enact 18

 U.S.C. § 116(a), counts 1, 2, 3, 4, and 5 must be dismissed.

     A. History of 18 U.S.C. § 116(a)

       The law proscribing FGM, 18 U.S.C. § 116(a), was passed in 1996

 and states the following:

       Except as provided in subsection (b), whoever knowingly
       circumcises, excises, or infibulates the whole or any part of
       the labia majora or labia minora or clitoris of another person
       who has not attained the age of 18 years shall be fined under
       this title or imprisoned for not more than 5 years, or both.

       Before the passage of 18 U.S.C. § 116(a) in 1996, the first attempt

 to federally criminalize the practice of FGM occurred on September 14,



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 1993,    when   Congresswoman       Patricia   Schroeder    introduced     the

 Women’s Health Equity Act of 1993. H.R. 3075, 103d Cong. (1993).

 Although the stated purpose of the Equity Act was to promote greater

 equity in the delivery of health care services to American women, the

 Act also included a provision criminalizing the practice of FGM. Id. at

 Subtitle M. (Exh. A.) Yet after its introduction, the Equity Act was

 inexplicably tabled after being referred to the House Judiciary

 Committee. No report was ever issued concerning the proposed criminal

 statute. The same fate lay with Congresswoman Schroeder’s second and

 third attempts at enacting legislation that would federally criminalize

 the practice of FGM. The Federal Prohibition of Female Genital

 Mutilation Acts of 1993 and 1995 were both similarly tabled without

 explanation after being referred for committee reports. (Exh. B; Exh. C.)

         At the same time as Congresswoman Schroeder was working on

 legislation in the House of Representatives, Senator Harry Reid began

 to push for legislation criminalizing FGM in the Senate. On September

 21, 1994, Senator Reid introduced a Senate resolution condemning

 FGM, and when introducing the resolution, indicated that he would be

 proposing legislation in the immediate future to federally criminalize



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 the practice. See S. Res. 263; Cong. Rec., 103d Cong., 2d. Sess. at

 S13100-01 (Sept. 21, 1994) (statement of Sen. Reid). (Exh. D; Exh. E.)

       On October 5, 1994, Senator Reid introduced to the Senate the

 Federal Prohibition of Female Genital Mutilation Act of 1994, which

 was virtually identical to the legislation proposed by Congresswoman

 Schroeder. S. 2501, 103d Cong. (1994). (Exh. F; Exh. G.) Senator Reid’s

 Act was referred to the Senate Judiciary Committee, but like the

 legislation that was proposed by Congresswoman Schroeder in the

 House, no reports were ever issued and the Act was never put up for a

 vote. This same scenario occurred when Senator Reid proposed the

 Federal Prohibition of Female Genital Mutilation Act of 1995. S. 1030,

 104th Cong. (1995). (Exh. H; Exh. I.)

       After his 1995 Act was tabled, Senator Reid changed course in his

 quest to criminalize FGM. Instead of proposing standalone legislation,

 he   began    submitting     amendments      to   pending    omnibus      and

 appropriations bills and sought to have the language of the previously

 failed Acts inserted into more voluminous legislation packages. His first

 attempt occurred on September 20, 1995, when he proposed a Senate

 amendment to the Foreign Operations, Export Financing, and Related



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 Appropriations Act of 1996. S. Amdt. 2711, 104th Cong. (1995). (Exh. J;

 Exh. K.) But the amendment did not survive the conference committee

 and was not incorporated into the final appropriations act.

       On March 12, 1996, Senator Reid again submitted a Senate

 amendment       to   the    Omnibus        Consolidated   Rescissions     and

 Appropriations Act of 1996. S. Amdt. 3477, 104th Cong. (1996). (Exh.

 L.) With this attempt, however, congressional findings were included

 within the proposed language. Specifically, the Senate amendment, in

 relevant part, stated:

       (b) Congress finds that –

       (1) the practice of female genital mutilation is carried out by
           members of certain cultural and religious groups within
           the United States;
       (2) the practice of female genital mutilation often results in
           the occurrence of physical and psychological health effects
           that harm the women involved;
       (3) such mutilation infringes upon the guarantees of rights
           secured by Federal and State law, both statutory and
           constitutional;
       (4) the unique circumstances surrounding the practice of
           female genital mutilation place it beyond the ability of
           any single State or local jurisdiction to control;
       (5) the practice of female genital mutilation can be prohibited
           without abridging the exercise of any rights guaranteed
           under the First Amendment to the Constitution or under
           any other law; and
       (6) Congress has the affirmative power under section 8 of
           article I of the Constitution, as well as under section 5 of


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          the Fourteenth Amendment to the Constitution, to enact
          such legislation.

       (c) It is the purpose of this section to protect and promote the
           public safety and health and activities affecting interstate
           commerce by establishing Federal criminal penalties for
           the performance of female genital mutilation. [Id.]

       Notably, the congressional record is silent as to the reason behind

 the addition of the congressional findings and statement of purpose

 language added to the statute and void of any explanation justifying the

 additions. Nevertheless, Senator Reid’s amendment suffered the same

 fate as his prior attempts, and although passed by the Senate, the

 amendment did not survive the conference report.

       On April 29, 1996, Senator Reid again proposed legislation to

 criminalize the practice of FGM via a Senate amendment to the

 Immigration Control and Financial Responsibility Act of 1996. S. Amdt.

 3865, 104th Cong. (1996). (Exh. M.) This time the congressional

 findings also included the Necessary and Proper Clause and the Treaty

 Clause as constitutional grounds upon which the legislation could be

 enacted. In the new amendment the “purpose of this section” language

 found in subsection (c) of the previous amendment was omitted, thereby

 removing from the statute its sole reference to interstate commerce.



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        As was the case with the prior amendment, no explanation for the

  additions and deletion are found within the congressional record. When

  addressing the Senate, however, Senator Reid, while lamenting that he

  had been unable to get legislation passed because of “procedural

  reasons,” shed some light on the bare-bones legislative findings when

  Senator Reid, after indicating that his colleagues did not think

  appropriate to pass a criminal law via an appropriations bill,

  remarkably bemoaned to Congress, “I do not think this is something

  that calls for formalities.” (Exh. N.)

        Nevertheless, and although Senator Reid himself seemingly

  acknowledged the hollow legislative history of the proposed federal

  criminal law, the amendment became law when the related Omnibus

  Consolidated Appropriations Act of 1997 was pushed through the House

  and Senate. (Exh. O.) The self-stated purpose of the 750-page Omnibus

  package was to make appropriations for the Departments of Commerce,

  Justice, and State; the Judiciary; and related agencies for the fiscal year

  ending September 30, 1997, and for “other purposes.” Id. One such

  other purpose, found in section 645 of the Act, was to federally

  criminalize the practice of FGM.



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        As the legislative history of 18 U.S.C. § 116(a) makes clear, no

  committee report exists with respect to the federal criminal law.

  Similarly, the law was never debated on the floor of either chamber of

  Congress nor was there ever any legislative hearing addressing the

  justification or need for the federal law. Instead, all that exists is the

  criminal statute itself, accompanied by unsupported and unverified

  “legislative findings” that seem to have originated without debate or

  deliberation. Perhaps this is because, in the words of Senator Reid, the

  “formalities” of legislating need not be adhered to when dealing with a

  topic like FGM.

        Nonetheless, the statute has stood unchallenged, and unused, for

  over a decade until the federal government initiated this case before

  this Court. This Court is aware that the use of this statute for criminal

  prosecution is the first of its kind and, as such, the constitutionality of

  18 U.S.C. § 116(a) is a matter of first impression. As will be described

  below, the enactment of 18 U.S.C. § 116(a) impermissibly expanded the

  scope and authority of the federal government’s powers beyond

  constitutional parameters, and the current prosecution cannot proceed

  without violating the Constitution of the United States.



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      B. Congress lacked authority to enact 18 U.S.C. § 116(a).

        “In our federal system, the National Government possesses only

  limited powers; the States and the people retain the remainder.” Bond

  v. United States, 134 S. Ct. 2077, 2086 (2014). “The States have broad

  authority to enact legislation for the public good – what [the Supreme

  Court has] often called a ‘police power.’” Id. (citing United States v.

  Lopez, 514 U.S. 549, 567 (1995)). The federal government, by contrast,

  has no such authority and “can exercise only the powers granted to it[.]”

  McCulloch, 17 U.S. at 405. Accordingly, “[u]nder our federal system the

  administration of criminal justice rests with the States except as

  Congress, acting within the scope of those delegated powers, has

  created offenses against the United States.” Lopez, 514 U.S. at 561 n. 3

  (internal citation omitted).

        Here, Congress specifically invoked four sources of constitutional

  authority to enact 18 U.S.C. § 116(a). In the companion statutory note

  to Section 116(a), Congress concluded, albeit incorrectly, that “Congress

  has the affirmative power under section 8 of article I, the necessary and

  proper clause, section 5 of the fourteenth amendment, as well as under

  the treaty clause, to the Constitution to enact such legislation.” As will



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  be demonstrated below, none of the sections invoked by Congress

  provide a constitutional basis for Section 116(a)’s enactment and,

  therefore, counts 1 through 5 of the Second Superseding Indictment

  should be dismissed.

      C. The Necessary and Proper Clause does not provide
         independent authority to enact legislation.
  	
        The Constitution empowers Congress “[t]o make all laws which

  shall be necessary and proper for carrying into Execution . . . all . . .

  Powers vested by this Constitution in the Government of the United

  States, or in any Department or Officer thereof.” U.S. Const. art. I, § 8,

  cl. 18. Because the Necessary and Proper Clause is not a freestanding

  grant of congressional power, but rather “makes clear that the

  Constitution’s grants of specific federal legislative authority are

  accompanied by broad power to enact laws that are convenient, or

  useful or conducive to the authority’s beneficial exercise[,]”Comstock,

  560 U.S. at 133-134 (internal citations and quotation marks omitted),

  the Necessary and Proper Clause is not an independent basis upon

  which Congress may enact legislation. Because none of the stated

  powers are applicable to 18 U.S.C. § 116(a), the Necessary and Proper




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  Clause cannot provide a constitutional basis for the enactment of the

  legislation. 	

      D. 18 U.S.C. § 116(a) is an unconstitutional exercise of
         Congress’ power under Section 5 of the Fourteenth
         Amendment.

        Section 1 of the Fourteenth Amendment provides, in relevant

  part, “No State shall make or enforce any law which shall abridge the

  privileges or immunities of citizens of the United States; nor shall any

  State deprive any person of life, liberty, or property, without due

  process of law, nor deny to any person within its jurisdiction the equal

  protection of the laws.” Section 5 of the Fourteenth Amendment states,

  “The Congress shall have power to enforce, by appropriate legislation,

  the provisions of this article.” Section 5 of the Fourteenth Amendment

  is “a positive grant of legislative power” to Congress. Katzenbach v.

  Margan, 384 U.S. 641, 651 (1966). However, “[a]s broad as the

  congressional enforcement power is, it is not unlimited.” Oregon v.

  Mitchell, 400 U.S. 112, 128 (1970) (opinion of Black, J.).

        “[S]everal limitations inherent in § 5’s text and constitutional

  context have been recognized since the Fourteenth Amendment was

  adopted.” United States v. Morrison, 529 U.S. 598, 619 (2000). “These



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  limitations are necessary to prevent the Fourteenth Amendment from

  obliterating the Framers’ carefully crafted balance of power between the

  States and the National Government.” Id. at 620.

        “Foremost among these limitations is the time-honored principle

  that the Fourteenth Amendment, by its very terms, prohibits only state

  action.” Id. at 621. The United States Supreme Court has consistently

  reaffirmed this principle. In Civil Rights Cases, 109 U.S. 3, 11 (1883),

  the Court stated that an “[i]ndividual invasion of individual rights is

  not the subject-matter of the [Fourteenth A]mendment.” In Shelley v.

  Kraemer, 334 U.S. 1, 13 (1948), the Court held that the Fourteenth

  Amendment “erects no shield against merely private conduct, however

  discriminatory or wrongful.” And, notably, “It is a commonplace that

  rights under the Equal Protection Clause itself arise only where there

  has been involvement of the State or of one acting under the color of its

  authority.” United States v. Guest, 383 U.S. 745, 755 (1966) (opinion of

  Stevens, J.); see also Bray v. Alexandria Women’s Health Clinic, 506

  U.S. 263, 352-355 (1993) (O’Connor, J., dissenting).

        Here, it is indisputable that 18 U.S.C. § 116(a) is an attempt to

  criminalize private conduct, given that the statute regulates conduct



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  where the actor is not acting under color of state authority. For this

  reason, Congress’ power under Section 5 of the Fourteenth Amendment

  does not extend to the enactment of 18 U.S.C. § 116(a).

        The United States Supreme Court has previously rejected Section

  5 of the Fourteenth Amendment as a basis to criminalize private

  conduct. In United States v. Harris, 106 U.S. 629 (1883), the United

  States Supreme Court considered the criminal provisions of Section 2 of

  the Civil Rights Act of 1871 (17 Stat. 13), also known as the Ku Klux

  Klan Act. The criminal provision of Section 2 provided that “if two or

  more persons in any state or territory conspire or go in disguise upon

  the highway or on the premises of another for the purpose of depriving

  either directly or indirectly, any person or class of persons of the equal

  protection of the laws, or of equal privileges and immunities under the

  laws, or for the purpose of preventing or hindering the constituted

  authorities of any state or territory from giving or securing to all

  persons within such state or territory the equal protection of the laws,

  each of said persons shall be punished . . . .” Harris, 106 U.S. at 629.

        The legislative history of the Ku Klux Klan Act is well-known, and

  a major factor motivating the Act was the belief of the 1871 Congress



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  that “the state authorities had been unable or unwilling to protect the

  constitutional rights of individuals or to punish those who violated

  these rights.” Patsy v. Bd. Of Regents of State of Florida, 457 U.S. 496,

  505 (1982). Despite Congress’ concerns, however, the Supreme Court

  rejected Section 5 of the Fourteenth Amendment as a basis for reaching

  the private conduct proscribed by the Act. Harris, 106 U.S. at 637-640.

        Quoting the decision of Justice Bradley, sitting as a circuit court

  judge, the Supreme Court held that Section 5 “is a guaranty of

  protection against the acts of the state government itself”:

        [T]he power of Congress . . . to legislate for the enforcement
        of such a guaranty, does not extend to the passage of laws for
        the suppression of crime within the states . . . . The
        enforcement of the guaranty does not require or authorize
        congress to perform “the duty that the guaranty itself
        supposes it to be the duty of the state to perform, and which
        it requires the state to perform.” [Harris, 109 U.S. at 638
        (quoting United States v. Cruikshank, 25 F. Cas. 707, 710
        (C.C.D. La. 1874) (No. 14897), aff’d, 92 U.S. 542 (1875)
        (emphasis added)).]

        In the Civil Rights Cases, 109 U.S. 3 (1883), decided later that

  same year, the Supreme Court considered the constitutionality of the

  first two sections of the Civil Rights Act of 1875 (18 Stat. 335). That law

  provided all persons in the United States the right to “the full and equal

  enjoyment of the accommodations, advantages, facilities, and privileges


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  of inns, public conveyances on land or water, theaters, and other places

  of public amusement” regardless of race, color, or previous conditions of

  servitude. Id. Again, the purpose of the legislation was manifest from

  its well-known legislative history. Throughout the course of extended

  debates on the law, Congress repeatedly heard that the states were

  failing to enforce then-existing common-law and statutory rights of

  African-Americans.

        The Supreme Court, however, found the first two sections of the

  1875 Act unconstitutional. Civil Rights Cases, 109 U.S. at 26. The Court

  noted that Section 1 of the Fourteenth Amendment was “prohibitory in

  its character, and prohibitory upon the States.” Id. at 10. In considering

  the scope of Section 5, the Supreme Court noted that the “power given

  to Congress to legislate [was] for the purpose of carrying such

  prohibition into effect.” Id. at 11. But the statute there, despite its

  legislative history demonstrating a failure by the states to protect the

  rights of African-Americans, did not “carry such prohibition into effect”

  because it did not attempt to correct improper state action. Id. Thus, the

  Court concluded, the first two sections of the statute were “not

  corrective legislation” because they were “primary and direct . . .



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  tak[ing] immediate and absolute possession of the subject of the right of

  admission to inns, public conveyances, and places of amusement.” Id. at

  19.

        Here, Congress’ claim that it had authority to enact 18 U.S.C. §

  116(a) pursuant to Section 5 of the Fourteenth Amendment is false

  because there is no indication that the statute criminalizing FGM was

  enacted to rectify any type of improper state action. As the Civil Rights

  Cases and Harris make clear, even if there had been actual evidence of

  the states being unable or unwilling to condemn certain behaviors,

  Section 5 of the Fourteenth Amendment does not allow for the federal

  government to take it upon itself to criminalize private conduct.

        More recently, in Morrison, 529 U.S. at 625, the Supreme Court

  reaffirmed its holdings of Harris and the Civil Rights Cases and the

  principle that Congress’ power to enforce Section 1 of the Fourteenth

  Amendment’s prohibitions does not extend to passing laws against

  private conduct. The Court emphatically stated, “We accordingly have

  no hesitation in saying that it would take more than the naked dicta

  contained in Justice Clark’s opinion, when added to Justice Brennan’s

  opinion, to cast any doubt upon the enduring vitality of the Civil Rights



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  Cases and Harris.” Id. at 624. Thus, binding authority necessitates the

  conclusion that 18 U.S.C. § 116(a) exceeded Congress’ Section 5 power

  because the law is “directed exclusively against the action of private

  persons, without reference to the laws of the State, or their

  administration by her officers.” Harris, 106 U.S. at 640.

      E. 18 U.S.C. § 116(a) is an unconstitutional exercise of
         Congress’ power under the treaty power.

        “In the United States, the word treaty is reserved for an

  agreement that is made ‘by and with the Advice and Consent of the

  Senate.’” Congressional Research Service of the Library of Congress,

  Treaties and Other International Agreements: The Role of the Senate,

  S. Prt. No. 106-71, 106th Cong, 2d Sess. at 1 (2001) (quoting U.S.

  Const., Art. II, § 2, cl. 2). “Signing a treaty serves to ‘authenticat[e]’ its

  text but ‘does not establish [the signing party’s] consent to be bound.’”

  United States v. Yousef, 327 F.3d 56, 94 n. 28 (2d Cir. 2003) (quoting

  Ian Brownlie, Principles of Public International Law 610-11 (5th ed.

  1999). Consequently, the Senate must ratify a treaty before the United

  States becomes a party to it, and only ratification of the treaty causes

  the treaty to become binding on the signing party. Id. In the United

  States, ratification occurs when two-thirds of the members of the


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  Senate present vote in favor of ratifying a signed treaty presented by

  the Executive. U.S. Const. Art II, § 2, cl. 2.

        With regard to 18 U.S.C. § 116(a), Congress did not specify within

  its findings what specific treaty it claimed granted Congress the

  affirmative power to enact the criminal statute. See Omnibus

  Consolidated Appropriations Act, 1997, Pub. L. 104-208, 110 Stat. 3009,

  30 Sept. 1996, at Sec. 645. Proponents of 18 U.S.C. § 116(a), however,

  within the congressional record, referred to the practice of FGM as both

  a “violation of a person’s human rights” and also “comparable to

  torture.” See Cong. Rec., 103d Cong., 2d. Sess. at S13100-01 (Sept. 21,

  1994) (statement of Sen. Reid).2 As such, Congress’ representation that

  it had authority to enact the statute pursuant to the treaty power is

  reviewed under the basis that this representation was premised upon

  treaties that originated as United Nations (UN) international human

  rights instruments.

        “The treaty power [however,] does not literally authorize Congress

  to act legislatively, for it is an Article II power authorizing the

  																																																								
  2 Similar representations have been made by the government in connection with

  this instant prosecution. See Criminal Complaint, Doc. 1, PAGE ID # 4 (“According
  to the World Health Organization (WHO), FGM is an internationally recognized
  violation of human rights of girls and women.”).

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  President, not Congress, ‘to make Treaties.’” United States v. Lara, 541

  U.S. 193, 201 (2004) (quoting U.S. Const., Art. II, § 2, cl. 2).

  Nevertheless, the Supreme Court has noted, that treaties made

  pursuant to Article II can authorize Congress to deal with “matters”

  with which otherwise “Congress could not deal.” Id. (quoting Missouri v.

  Holland, 252 U.S. 416, 433 (1920)). Accordingly, Article II and the

  Necessary and Proper Clause, collectively, empower Congress to enact

  laws necessary and proper to effectuate a treaty made pursuant to

  Article II. See Holland, 252 U.S. at 432.

        The United States, in turn, has ratified three of the nine “core”

  UN human rights instruments. (Exh. P.) For the purposes of this

  motion, if this Court accepted the government’s contention that FGM is

  a human rights violation or, as stated by Senator Reid, “comparable to

  torture,” of the three ratified treaties, two could be applicable to this

  instant case: the Convention Against Torture and Other Cruel,

  Inhuman or Degrading Treatment or Punishment (CAT) and the

  International Covenant on Civil and Political Rights (ICCPR). (Exh. Q,

  Exh. R.)




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        The CAT recognizes obligations under the United Nations Charter

  to “promote universal respect for, and observance of, human rights and

  fundamental freedoms.” See CAT, pmbl. The preamble to the CAT

  announces the treaty’s broad purpose of “mak[ing] more effective the

  struggle against torture and other cruel, inhuman or degrading

  treatment or punishment throughout the world.” Id. Similarly, the

  ICCPR is an instrument guaranteeing “a broad spectrum of civil and

  political rights, rooted in basic democratic values and freedoms, to all

  individuals within the territory or under the jurisdiction of the States

  Party without distinction of any kind, such as to race, gender, ethnicity,

  et cetera.” Senate Comm. on Foreign Relations Report on the Int’l

  Covenant on Civil and Political Rights, S. Exec. Rept. No. 102-23, at 1

  (1992). (Exh. S.) The third human rights instrument that has been

  ratified by the United States, entitled the “International Convention of

  the Elimination of All Forms of Racial Discrimination,” is inapplicable

  to the matter before the Court.

        When courts have had the opportunity to consider whether

  legislation enacted pursuant to the treaty power impermissibly

  exceeded bounds of congressional authority, courts have recognized that



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  the legislation must constitute a means that is rationally related to the

  implementation of the enumerated power. See Comstock, 560 U.S. at

  134 (“[I]n determining whether the Necessary and Proper Clause grants

  Congress the legislative authority to enact a particular federal statute,

  [courts] look to see whether the statute constitutes a means that is

  rationally   related   to   the   implementation      of   a   constitutionally

  enumerated power.”).

        In United States v. Lue, 134 F.3d 79, 84 (2d Cir. 1998), for

  example, the United States Court of Appeals for the Second Circuit

  applied the rational relationship test in upholding the constitutionality

  of the Hostage Taking Act, which was enacted to implement the

  Hostage Taking Convention. In Lue, the defendant claimed that the

  Hostage Taking Act strayed too far from the bounds of the Hostage

  Taking Convention in defining a “hostage taker.” Id. at 82. The Hostage

  Taking Convention defined a hostage taker as follows:

        “Any person who seizes or detains and threatens to kill, to
        injure or to continue to detain another person . . . in order to
        compel a third party, namely, a State, an international
        intergovernmental organization, a natural or juridicial
        person, or a group of persons, to do or abstain from doing
        any act as an explicit or implicit condition for the release of
        the hostage, [is a hostage taker].” [Id. (quoting Hostage
        Taking Convention, art. 1).]


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  The Hostage Taking Act, on the other hand, defined a hostage taker in

  a slightly different manner, providing, among other things, an arguably

  broader definition of “third party”:

        “[W]hoever, whether inside or outside the United States,
        seizes or detains and threatens to kill, to injure, or to
        continue to detain another person in order to compel a third
        person or a governmental organization to do or abstain from
        doing any act as an explicit or implicit condition for the
        release of the person detained, or attempts or conspires to do
        so [is a hostage taker].” [Id. at 81-82 (quoting 18 U.S.C. §
        1203(a)).]

        The Second Circuit ultimately held that the differences in

  language between the treaty and its implementing legislation did not

  mean that one lacked a rational relationship to the other. Id. at 84.

  Instead, because the Act tracked the language, the differences in the

  language were, therefore, not material. Id. The Second Circuit found a

  rational relationship between the Hostage Taking Convention and the

  Hostage Taking Act. Id.

        The United States Court of Appeals for the Eleventh Circuit in

  United States v. Belfast, 611 F.3d 783 (11th Cir. 2010) conducted a

  similar analysis when considering whether there existed a rational

  relationship between the Torture Act and the CAT. In Belfast, the



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  defendant argued that the Torture Act was invalid because its

  definition of torture swept more broadly than that provided by the CAT.

  Id. at 803. In determining whether the Torture Act bore a rational

  relationship to the CAT, the Eleventh Circuit, relying on Lue, also

  focused its analysis on whether the differences in language between the

  treaty and legislation were material. Id. at 806.

        The CAT defines “torture” as:

        [A]ny act by which severe pain or suffering, whether
        physical or mental, is intentionally inflicted on a person for
        such purposes as obtaining from him or third person
        information or a confession, pushing him for an act he or a
        third person has committed or is suspected of having
        committed, or intimidating or coercing him or a third person,
        or for any reason based on discrimination of any kind, when
        such pain or suffering is inflicted by or at the instigation of
        or with the consent or acquiescence of a public official or
        other person acting in an official capacity. [CAT, art. 1(1).]

  The Torture Act, in turn, defines “torture” as:

        [A]n act committed by person acting under the color of law
        specifically intended to inflict severe physical or mental pain
        or suffering (other than pain or suffering incidental to lawful
        sanctions) upon another person within his custody or
        physical control. [18 U.S.C. § 2340(1).]

        In holding that the Torture Act bore a rational relationship to the

  CAT, the Eleventh Circuit explained:




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        Notably, the existence of slight variances between a treaty
        and its congressional implementing legislation do not make
        the enactment unconstitutional; identicality is not required.
        Rather, as the Second Circuit held in Lue, and as we echoed
        in [United States v. Ferreira, 275 F.3d 1020 (11th Cir.
        2001)], legislation implementing a treaty bears a “rational
        relationship” to that treaty where the legislation “tracks the
        language of the [treaty] in all material respects.” [Id. at 806
        (quoting Lue, 134 F.3d at 84).]

        In contrast to the prior holdings, here, Congress could not have

  enacted 18 U.S.C. § 116(a) pursuant to either the CAT or ICCPR

  because 18 U.S.C. § 116(a) regulates private conduct. Both the CAT and

  ICCPR are limited to acts occurring at the hand of state or government

  officials; thus, 18 U.S.C. § 116(a) falls outside the scope of both treaties.

        As previously indicated, to meet the definition of “torture” under

  the CAT, the severe pain or suffering must have been “inflicted by or

  at the instigation of or with the consent or acquiescence of a

  public official or other person acting in an official capacity.”

  CAT, art. 1(1) (emphasis added). Similarly, Article 16(1) of the CAT

  requires State Parties to prevent “acts of cruel, inhuman or degrading

  treatment or punishment which do not amount to torture as defined in

  article I, when      such    acts   are    committed      by   or    at   the

  instigation of or with the consent or acquiescence of a public



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  official or other person acting in an official capacity.” Id. at

  art. 16(1) (emphasis added).

        Thus, “the [CAT] applies only to torture that occurs in the context

  of governmental authority, excluding torture that occurs as a wholly

  private act or, in terms more familiar in U.S. law, it applies to torture

  inflicted ‘under color of law.’” S. Exec. Rep. No. 101-30, at 14 (1990).3

  (Exh. T.) Consequently, 18 U.S.C. § 116(a) could not have been enacted

  as a means to implement the CAT because the statute does not require

  the proscribed conduct to have been committed by a person acting under

  the color or law. This constitutes a material distinction between the

  treaty and 18 U.S.C. § 116(a).

        Similarly, Article 7 of the ICCPR states, “No one shall be

  subjected to torture or to cruel, inhuman or degrading treatment or

  punishment.” The ICCPR is more expansive than the CAT given that

  the ICCPR does not provide limiting definitions for the terms “torture”

  or “cruel, inhuman or degrading punishment.” Nevertheless, the ICCPR

  was ratified with the reservation that Article 7’s prohibition against

  cruel, inhuman, or degrading treatment be limited to conduct prohibited
  																																																								
  3 This interpretation of the CAT is consistent with the Torture Act, 18 U.S.C. §§

  2340-2340A, passed on April 30, 1994, which defines “torture,” in part, as “an act
  committed by a person acting under the color of law[.]”

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  by the Fifth, Eighth, and Fourteenth Amendments. See S. Exec. Rep.

  No. 102-23, at 7, 12 (1992). In explaining the necessity of the

  reservation, the Senate Committee on Foreign Relations made clear

  that the United States interpreted its “obligations under Article 7 of the

  Covenant consistently with those [the United States had] undertaken in

  the Torture Convention.” Id. at 12.

        Significantly, a private individual cannot deprive another of

  rights secured by the Fifth, Eighth, or Fourteenth Amendments.

  Instead, and consistent with the CAT, government or state action is

  required. See Edmonson v. Leesville Concrete Co., Inc., 500 U.S. 614,

  619 (1991). “The Constitution structures the National Government,

  confines its actions, and, in regard to certain individual liberties and

  other specified matters, confines the actions of the States.” Id.

        Although courts are to interpret treaties so as to give a “meaning

  consistent with the shared expectations of the contracting parties[,]” Air

  France v. Saks, 470 U.S. 392, 399 (1985), where “the President and the

  Senate express a shared consensus on the meaning of a treaty as part of

  the ratification process, that meaning is to govern in the domestic

  context.” Auguste v. Ridge, 395 F.3d 123, 143 (3d Cir. 2005). Here, there



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  is no doubt that the United States understood and expressly limited the

  scope of the CAT and ICCPR to pertain only to state or government

  action.

          As such, the lack of a requirement that the conduct proscribed by

  18 U.S.C. § 116(a) be committed by a person acting under the color of

  law is not simply a slight variance in language between the treaties and

  legislation. Instead, it constitutes a material departure from the United

  States’ express understanding of the scope of the treaties in question,

  and no rational relationship can exist between the treaties and

  legislation. This is especially true given that the language limiting the

  scope of the treaties to acts committed by government officials was

  integral to ratification, as evidenced by the United States’ reservation

  pertaining to Article 7 of the ICCPR. Accordingly, 18 U.S.C. § 116(a)

  cannot be said to have been passed to effectuate the CAT or ICCPR

  because Section 116(a) criminalizes conduct not contemplated by the

  treaties.

          Article 24 of the ICCPR also calls on State Parties to recognize

  that:




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        Every child shall have, without any discrimination as to
        race, colour, sex, language, religion, national or social origin,
        property or birth, the right to such measures of protection as
        are required by his status as a minor, on the part of his
        family, society and the State.

  Again, however, specific understandings of the United States that are

  expressed in connection with the ratification of the ICCPR prohibit the

  enactment of Section 116(a) as a means to implement Article 24.

  Specifically, the ICCPR was ratified with the following understanding:

        The United States understands that this Convention shall be
        implemented by the Federal Government to the extent that
        it exercises legislative and judicial jurisdiction over the
        matters covered therein, and otherwise by the State and
        local governments; to the extent that State and local
        governments exercise jurisdiction over such matters, the
        Federal Government shall take measures appropriate to the
        Federal system to the end that the competent authorities of
        the State or local governments may take appropriate
        measures for the fulfillment of the Convention. [S. Exec.
        Rep. No. 102-23, at 18 (1992).]

  The Senate Committee on Foreign Relations explained that it was

  necessary to include such language in order “to emphasize domestically

  that there is no intent to alter the constitutional balance of authority

  between the State and Federal governments or to use the provisions of

  the Covenant to ‘federalize’ matters now within the competence of the

  States. S. Exec. Rep. No. 102-23, at 18 (1992).



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        As previously indicated, “[t]he legal effect of ratification turns on

  the nature of the treaty itself and any reservations the Senate made.”

  United States v. Reed, No. CR 15-188 (APM), 2017 WL 3208458, at *14

  (D.D.C. July 27, 2017). The court in Reed held that 18 U.S.C. § 2423(c)

  could not have been enacted to implement the Optional Protocol to the

  Convention on the Rights of the Child on the Sale of Children, Child

  Prostitution, and Child Pornography via the Treaty Power because the

  conduct that Section 2423(c) prohibits is not plainly adapted to

  implementing the stated goals of the Optional Protocol. Id. at *17.

  Consequently, it “violate[s] the structure and spirit of the Constitution

  for Congress to pass implementing legislation that causes the treaty to

  take on a shape that contradicts the Constitution, either by causing the

  treaty to reach a topic on which the President himself could not have

  negotiated or by allowing Congress to reserve for itself power to expand

  the treaty’s scope beyond what the President negotiated on the

  country’s behalf.” Id.

        Treating Section 116(a) as implementing legislation of Article 24

  would permit Congress to regulate conduct the treaty neither demands

  nor authorizes and which Congress lacks independent power to



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  regulate. This is especially true where Congress explicitly limited the

  plain language of the treaty so that the treaty would not be interpreted

  to “federalize” matters within the competence of the states. S. Exec.

  Rep. No. 102-23, at 18 (1992). Accordingly, counts 1 through 5 of the

  Second Superseding Indictment should be dismissed because no treaty

  provides Congress the authority to enact the statute.

        F.    18 U.S.C. § 116(a) is an unconstitutional exercise of
              Congress’ power under Article 1, Section 8 of the
              United States Constitution.

        Congress’ powers are enumerated in the eighteen clauses of

  Article I, Section 8 of the Constitution. See U.S. Const. art. I, § 8. Of the

  eighteen clauses, only the Commerce Clause is relevant to this case. See

  U.S. Const., art. I, § 8, cl. 3. The Commerce Clause delegates to

  Congress the power “[t]o regulate Commerce with foreign Nations, and

  among the several States, and with the Indian Tribes.” U.S. Const., art.

  I, § 8, cl. 3. As the Supreme Court has explained, its “interpretation of

  the Commerce Clause has changed as our Nation has developed.”

  Morrison, 529 U.S. at 607. Though seldom used in the nineteenth

  century, the Commerce Clause became the chief engine for federal

  regulatory and criminal statutes in the latter two-thirds of the



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  twentieth century and “greatly expanded the previously defined

  authority of Congress under that Clause.” Lopez, 514 U.S. at 552-556.

        Yet, “even th[ose] modern-era precedents [that] expanded

  congressional power under the Commerce Clause confirm that this

  power is subject to outer limits.” Id. at 556-557. Indeed, in NLRB v.

  Jones & Laughlin Steel Corp., 301 U.S. 1, 37 (1937), while upholding

  the National Labor Relations Act, the Supreme Court emphasized that

  the Commerce Clause “may not be extended so as to embrace effects

  upon interstate commerce so indirect and remote that to embrace them,

  in view of our complex society, would effectually obliterate the

  distinction between what is national and what is local and create a

  completely centralized government.” This alarming and dangerous

  prospect, along with the need to identify enforceable limits on the

  Commerce Clause, was a motivating force behind the more recent

  Supreme Court decisions of Lopez and Morrison, which recognize that

  without any judicially enforceable limits, the Commerce Clause would

  too easily become an unconstitutional general police power denied to

  Congress by the Constitution.




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        In Lopez, the Supreme Court considered the constitutionality of

  former 18 U.S.C. § 922(q), the Gun-Free School Zones Act of 1990,

  which forbade “‘any individual knowingly to possess a firearm at a place

  that the individual knows, or has reasonable cause to believe, is a

  school zone.’” Lopez, 514 U.S. at 549 (quoting former 18 U.S.C. §

  922(q)(1)(A)). Specifically, the Court considered whether this act was a

  permissible use of Congress’ commerce power. In answering that

  question, the Court “heeded [the] warning” pronounced in Jones &

  Laughlin Steel and undertook to “decide whether a rational basis

  existed for concluding that [the] regulated activity sufficiently affected

  interstate commerce.” Id. at 557.

        In making this determination, the Court noted that it had not

  “‘declared that Congress may use a relatively trivial impact on

  commerce as an excuse for broad general regulation of state or private

  activities.’” Id. at 558 (quoting Maryland v. Wirtz, 392 U.S. 183, 197 n.

  27 (1968)). “Rather, ‘[t]he Court has said only that where a general

  regulatory statute bears a substantial relation to commerce, the de

  minimis character of individual instances arising under that statute is




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  of no consequence.’” Id. (quoting Wirtz, 392 U.S. at 197 n. 27) (emphasis

  omitted).

           Pursuant to Lopez, Congress may regulate three broad categories

  of activity pursuant to its commerce power. Id. First, Congress may

  regulate the use of the channels of interstate commerce. Id. Second,

  Congress may regulate and protect the instrumentalities of interstate

  commerce, or persons or things in interstate commerce, even though the

  threat may come only from intrastate activities. Id. Third, Congress

  may regulate those activities that have a substantial relation to

  interstate commerce. Id. at 558-559. The Court further concluded that

  to qualify for the third category of activities that may be regulated, the

  regulated activity must “substantially affect” interstate commerce. Id.

  at 559.

      i.     A review of Lopez and Morrison and the substantial
             effect on interstate commerce analysis

           As in Lopez, 514 U.S. at 559, the first two categories of activities

  Congress can regulate pursuant to the Commerce Clause can be easily

  eliminated in the case at hand. 18 U.S.C. § 116(a) is not “a regulation of

  the use of channels of interstate commerce, nor is it an attempt to

  prohibit the interstate transportation of a commodity through the


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  channels of commerce.” Thus, like the statute considered in Lopez, if

  Section 116(a) “is to be sustained, it must be under the third category as

  a regulation of an activity that substantially affects interstate

  commerce.” Lopez, 514 U.S. at 559. As such, only the third category of

  activities that may be regulated will be discussed.

        In Lopez, the effects-analysis can be broken down into four parts.

  First, the Court noted the relevance of the nature of the regulated

  activity and distinguished the Gun-Free School Zones Act from cases

  concerning the regulation of an intrastate activity that was economic in

  nature. Id. Second, the Court considered whether the contested statute

  had any jurisdictional element to ensure in individual cases that the

  prohibited firearm possession would affect interstate commerce. Id. at

  562. Third, the Court considered the importance of the legislative

  history. Id. Lastly, the Court considered the practical implications of

  accepting the government’s argument that the economic impact of the

  regulated activity had sufficient effects on interstate commerce to

  sustain the regulation. Id. at 564.

        When analyzing the nature of the regulated activity in Lopez, the

  Court noted that Wickard v. Filburn, 317 U.S. 111 (1942), was perhaps



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  the most far-reaching example of Commerce Clause authority over

  intrastate activity. Lopez, 514 U.S. at 560. The Lopez Court, however,

  was quick to distinguish Wickard due to the fact Wickard involved

  economic activity in a way that the possession of a gun in a school did

  not. Id.

        In Wickard, Roscoe Filburn operated a small farm in Ohio, where

  he would sell a modest amount of wheat, after using the majority for

  personal purposes. Wickard, 317 U.S. at 114. The Secretary of

  Agriculture assessed a penalty against Filburn under the Agricultural

  Adjustment Act of 1938 because Filburn harvested approximately 12

  more acres of wheat than the Act permitted. Id. at 114-115. The Court

  in Wickard sustained the application of the Act to this activity, stating

  that home-grown wheat “competes with wheat in commerce,” because

  “it supplies a need of the man who grew it which would otherwise be

  reflected by purchases in the open market.” Id. at 128.

        The Lopez Court differentiated the Gun-Free School Zones Act

  from the statute in Wickard, because:

        Section 922(q) is a criminal statute that by its terms has
        nothing to do with “commerce” or any sort of economic
        enterprise, however broadly one might define those terms.
        Section 922(q) is not an essential part of a larger regulation


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        of economic activity, in which the regulatory scheme could be
        undercut unless the intrastate activity were regulated. It
        cannot, therefore, be sustained under our cases upholding
        regulations of activities that arise out of or are connected
        with a commercial transaction, which viewed in the
        aggregate, substantially affects interstate commerce. [Lopez,
        514 U.S. at 561 (footnote omitted).]

  The Court distinguished the Commerce Clause analysis between

  situations where the regulated intrastate activity is economic in nature

  and situations where the intrastate activity is not.

        Next, the Lopez Court considered it important that the statute in

  question did not contain a “jurisdictional element which would ensure,

  through case-by case inquiry, that the firearm possession in question

  affects interstate commerce.” Id. By way of comparison, the Court in

  Lopez contrasted the case of United States v. Bass, 404 U.S. 336, 337

  (1971), in which the Court interpreted the former 18 U.S.C. § 1202(a),

  which made it a crime for a felon to “receiv[e], posses[s], or transpor[t]

  in commerce or affecting commerce . . . any firearm[.]” The Bass Court

  interpreted the possession component of Section 1202(a) to require an

  additional nexus to interstate commerce both because the statute was

  ambiguous and because “unless Congress conveys its purpose clearly, it

  will not be deemed to have significantly changed the federal-state



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  balance.” Id. at 348-349. The Bass Court set aside the contested

  conviction because, although the government had demonstrated that

  the defendant had possessed a firearm, it had failed “to show the

  requisite nexus with interstate commerce.” Id. at 347. Unlike the

  statute in Bass, however, the Lopez Court noted that Section 922(q) had

  “no express jurisdictional element which might limit its reach to a

  discrete set of firearm possessions that additionally have an explicit

  connection with or effect on interstate commerce.” Lopez, 514 U.S. at

  562.

         With regard to the import of the Gun-Free School Zone Act’s

  legislative history, the Court in Lopez noted that no express

  congressional findings had been made or presented concerning the

  effects gun possession in a school zone might have upon interstate

  commerce. Id. The Court explained that although such findings were

  not absolutely necessary, “to the extent that congressional findings

  would enable [the Court] to evaluate the legislative judgment that the

  activity in question substantially affected interstate commerce, even

  though no such substantial effect was visible to the naked eye, they are

  lacking here.” Id. at 563. (footnote omitted).



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        Finally, the Court considered the government’s argument that

  possession of a firearm in a school zone may result in violent crime,

  which could affect interstate commerce in two ways. Id. at 563-564.

  First, the government claimed that “the costs of violent crime are

  substantial” and that “through the mechanism of insurance, those costs

  are spread throughout the population.” Id. Second, the government

  argued that “the presence of guns in schools poses a substantial threat

  to the educational process by threatening the learning environment[,]”

  which would result in a “less productive citizenry[,]” which would “have

  an adverse effect on the Nation’s economic well-being.” Id. at 564.

        The Court, however, observed that if the regulation was

  constitutional based on these claims, then Congress’ power would be

  limitless. Id. The Court first explained that under the government’s

  “costs of crime” reasoning, Congress would be able to regulate “not only

  all violent crime, but all activities that might lead to violent crime,

  regardless of how tenuously they related to interstate commerce.” Id.

  Next, the Court similarly cautioned that under the government’s

  “national productivity” reasoning, Congress could regulate “any activity

  that [Congress] found was related to the economic productivity of



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  individual citizens: family law (including marriage, divorce, and child

  custody), for example.” Id. The Court concluded, “Thus, if we were to

  accept the Government’s arguments, we are hard pressed to posit any

  activity by an individual that Congress is without power to regulate.”

  Id.

        Consequently, the Court held Section 922(q) of the Gun-Free

  School Zones Act unconstitutional and reaffirmed the long-held

  principle that “[w]ere the Federal Government to take over the

  regulation of entire areas of traditional state concern, areas having

  nothing to do with the regulation of commercial activities, the

  boundaries between the spheres of federal and state authority would

  blur and political responsibility would become illusory.” Id. at 577

  (Kennedy, J., concurring).

        Five years later, relying on Lopez, the Supreme Court again

  invalidated a statute it determined Congress lacked authority to enact

  pursuant to its commerce power in Morrison. Morrison concerned a

  Virginia Tech student who claimed two members of the school’s football

  team “assaulted and repeatedly raped her.” Morrison, 529 U.S. at 601.

  The female student filed a complaint alleging that the football players’



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  conduct violated the Violence Against Women Act (VAWA), which is

  codified within 42 U.S.C. § 13981. Morrison, 529 U.S. at 604.

  Specifically, Section 13981(b) of the Act states that “[a]ll persons within

  the United States shall have the right to be free from crimes of violence

  motivated by gender.” 42 U.S.C. § 13981(b). To enforce that right,

  subsection (c) declares:

        A person (including a person who acts under the color of any
        statute, ordinance, regulation, custom or usage of any State)
        who commits a crime of violence motivated by gender and
        thus deprives another of the right declared in subsection (b)
        of this section shall be liable to the party injured, in an
        action for the recovery of compensatory and punitive
        damages, injunctive and declaratory relief, and such other
        relief as a court may deem appropriate.

  The defendants then moved to dismiss the complaint on the grounds

  that Section 13981’s civil remedy provision was unconstitutional.

  Morrison, 529 U.S. at 604.

        The Morrison Court, in applying the four factors outlined in

  Lopez, first considered whether the civil remedy provision of the VAWA

  regulated intrastate or economic activity. Morrison, 529 U.S. at 609-

  613. Like the Court in Lopez, the Court determined that gender-

  motivated crimes were “not, in any sense of the phrase, economic

  activity.” Id. at 613. Likewise, the Court noted that Section 13981, like


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  the Gun-Free School Zones Act, contained “no jurisdictional element

  establishing that the federal cause of action [was] in pursuance of

  Congress’ power to regulate interstate commerce.” Id. It explained,

  “Although Lopez makes clear that such a jurisdictional element would

  lend support to the argument that § 13981 is sufficiently tied to

  interstate commerce, Congress elected to cast § 13981’s remedy over a

  wider, and more purely intrastate, body of violent crime.” Id. (footnote

  omitted).

        One difference, however, between the statute in question in Lopez

  and the statute in question in Morrison was that Section 13981 was

  “supported by numerous findings regarding the serious impact that

  gender-motivated violence [had] on victims and their families.” Id. at

  614. 4 Nevertheless, the Morrison Court found persuasive Lopez’s

  proclamation that “‘simply because Congress may conclude that a

  particular activity substantially affects interstate commerce does not



  																																																								
  4 Congress found that gender-motivated violence would affect interstate commerce

  “by deterring potential victims from traveling interstate, from engaging in
  employment in interstate business, and from transacting with business, and in
  places involved in interstate commerce; . . . by diminishing national productivity,
  increasing medical and other costs, and decreasing the supply of and the demand
  for interstate products.” Morrison, 529 U.S. at 615 (quoting H.R. Conf. Rep. No. 103-
  711, at 385, U.S. Code Cong. & Admin. News 1994, pp. 1803, 1853).

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  necessarily make it so.’” Id. (quoting Lopez, 514 U.S. at 557, n.2,

  (additional citations omitted)).

        With that in mind, the Morrison Court determined Congress’

  findings concerning the interstate effects of gender-motivated crime to

  be unpersuasive because they heavily relied on a method of reasoning

  already rejected by the Supreme Court as “unworkable” if the Court

  was “to maintain the Constitution’s enumeration of powers.” Id. at 615.

  The Court explained that “[t]he reasoning that petitioners advance

  seeks to follow the but-for causal chain from the initial occurrence of

  violent crime (the suppression of which has always been the prime

  object of the States’ police power) to every attenuated effect upon

  interstate commerce[,]” and warned that “if Congress may regulate

  gender-motived violence, it would be able to regulate murder or any

  other type of violence since gender-motivated violence, as a subset of all

  violent crime, is certain to have lesser economic impacts than the larger

  class of which it is a part.” Id. The Court further cautioned that if it

  were to accept petitioner’s claim Congress would not solely be limited to

  regulating violence, but also “family law and other areas of traditional

  state regulation since the aggregate effect of marriage, divorce, and



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  childrearing on the national economy is undoubtedly significant.” Id. at

  615-616.

        As such, the Morrison Court likewise rejected the argument that

  Congress may regulate noneconomic criminal conduct based on the

  assertion that the conduct in the aggregate would affect interstate

  commerce. Id. at 617. In doing so, the Court explicitly rejected the

  invitation to distinguish between what is truly national and what is

  truly local, relying on the principle that “[t]he regulation and

  punishment of intrastate violence that is not directed at the

  instrumentalities, channels, or goods involved in interstate commerce

  has always been the province of the States.” Id. at 617-618.

        Consequently, the civil remedy provision in question in Morrison

  was held unconstitutional, and the Supreme Court once again

  reiterated that the Supreme Court has “‘always . . . rejected readings of

  the Commerce Clause and the scope of federal power that would permit

  Congress to exercise a police power[.]’” Id. at 618-619 (quoting Lopez,

  514 U.S. at 584 (Thomas, J., concurring)).




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      i.     There is no rationale under the Commerce Clause
             that provides Congress with the authority to enact 18
             U.S.C. § 116(a).
  	
           18 U.S.C. § 116(a), like the statutes in question in Morrison and

  Lopez, also lacks criteria indicating it was enacted to regulate an

  activity having a substantial relationship to interstate commerce.

  Notably, FGM is not an economic or commercial activity. Instead, like

  the statute considered in Lopez, Section 116(a) “is a criminal statute

  that by its terms has nothing to do with ‘commerce’ or any sort of

  economic enterprise, however broadly one might define those terms.”

  Lopez, 514 U.S. at 561. As the Supreme Court made clear in Morrison,

  “the noneconomic, criminal nature of conduct at issue [in Lopez] was

  central to [the Supreme Court’s] decision in that case.” Morrison, 529

  U.S. at 610.

           Additionally, Section 116(a) is “not an essential part of a larger

  regulation of economic activity, in which the regulatory scheme could be

  undercut unless the intrastate activity were regulated.” Lopez, 514 U.S.

  at 561. There is also no similarity to the statute in Gonzales v. Raich,

  545 U.S. 1, 32-33 (2005), in which the Court upheld the authority of

  Congress to prohibit the domestic consumption of marijuana, a home-



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  grown commodity, where that prohibition was an indirect and

  supplemental, but essential, means of enforcing regulations on the

  national   market    in   that   commodity.    Likewise,    there    are   no

  congressional findings to support the statute in comparison to child

  pornography, which has become a “’highly organized, multimillion

  dollar industry that operates on a nationwide scale[.]’” United States v.

  Brown, 327 Fed. Appx. 526, 531 (6th Cir. 2006) (citing S. Rep. No. 95-

  438, at 5 (1977)).

        Here, there is nothing in Section 116(a)’s legislative history

  indicating that Congress, in enacting the statute, was attempting to

  regulate the prohibited activity because a national market existed for

  the proscribed conduct. Instead, the legislative history reveals that the

  driving force behind Senator Reid’s legislation was his belief that the

  prohibited conduct was “repulsive and cruel.” September 20, 1995

  Record. The Senator’s belief, however, cannot be substituted for what

  the Constitution demands – that the regulated activity must “arise out

  of or [be] connected with a commercial transaction, which viewed in the

  aggregate, substantially affects interstate commerce.” Lopez, 514 U.S.

  at 561.



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        Further, 18 U.S.C. § 116(a) contains no jurisdictional element,

  which “would ensure, through case-by-case inquiry, that the [statute]

  affects interstate commerce.” Id. Nor does Section 116(a) require any

  type of jurisdictional nexus to interstate activity or movement be

  established for conviction. See Bass, 404 U.S. at 349. Instead, like the

  statutes in Morrison and Lopez, Section 116(a), on its face, seeks to

  punish intrastate crime with no nexus to commerce. Notably, Section

  116(a) was enacted after the Supreme Court rendered its decision in

  Lopez, which made clear that a jurisdictional element ensures that a

  statute have “the requisite nexus with interstate commerce.” Lopez, 514

  U.S. at 549. Nevertheless, the legislature here, like the legislature that

  enacted the statute in Morrison, fatally chose to cast Section 116(a)

  “over a wider, and more purely intrastate, body of violent crime.”

  Morrison, 529 U.S. at 613. Where Congress is not regulating economic

  activity, however, insisting on jurisdictional language in a federal

  criminal statute is essential because, “[u]nder our federal system, the

  ‘States possess primary authority for defining and enforcing the

  criminal law.’” Lopez, 514 U.S. at 561 n. 3 (internal citations and

  quotation marks omitted).



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        Moreover, in enacting Section 116(a), Congress made no findings

  regarding any effect FGM might have on interstate commerce. While

  “Congress normally is not required to make formal findings as to the

  substantial burdens that an activity has on interstate commerce,”

  Lopez, 514 U.S. at 562, the existence of such findings “enable [courts] to

  evaluate the legislative judgment that the activity in question

  substantially affect[s] interstate commerce, even though no such

  substantial effect [is] visible to the naked eye[.]” Id. at 563. Here, the

  congressional record is completely void of any reference to any economic

  effect the regulated activity might have and, in fact, points to the

  contrary – the statute was enacted because of the perception that the

  conduct was “repulsive and cruel.”

        Instead, to justify the federal criminal statute, Congress stated

  within its findings that “the unique circumstances surrounding the

  practice of female genital mutilation place it beyond the ability of any

  single State or local jurisdiction to control[.]” Pub. L. 104-208, div. C,

  title VI, § 645(a)(4), Sept. 30, 1996, 110 Stat. 3009-708. This finding,

  however, is not supported by the legislative record, and in fact, was

  directly contradicted by Congresswoman Schroeder when applauding



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  states for enacting legislation prohibiting FGM. See Cong. Rec., 104th

  Cong., 1st Sess., Vol. 141, No. 163 at E 1988 (Oct. 20, 1995) (Exh. U).

        Representative Schroeder stated, “I have spoken on this floor

  many times regarding FGM, and some States are now passing or

  considering their own legislation to ban it.” Id. She also said that, at the

  time, Minnesota, New Jersey, New York, and North Dakota had

  introduced or passed legislation banning FGM, and she further stated,

  “I’m happy to report that Colorado has joined the growing ranks of

  States that are drawing up their own legislation to ban female genital

  mutilation.” Cong. Rec., 104th Cong., 2d Sess., Vol. 142, No. 9 at E70

  (Jan. 24, 1996) (Exh. V). These statements counter any argument that

  the statute is grounded in the powers enumerated by the Commerce

  Clause.

        “When Congress criminalizes conduct already denounced as

  criminal by the States, it effects a ‘change in the sensitive relation

  between federal and state criminal jurisdiction.’” Lopez, 514 U.S. at 561

  n. 3 (internal citations and quotation marks omitted). More significant,

  however, is the principle that the federal government cannot usurp the

  province of the States simply because it decides it would be convenient.



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  Importantly, Congress’ finding here has nothing to do with any

  purported impact on interstate commerce. As the Lopez Court made

  clear, where the legislative history is silent, a substantial interstate

  commerce nexus must be “visible to the naked eye” without resorting to

  “pil[ing] inference upon inference” until nothing is left of state

  autonomy. Id. at 563, 567.

        By way of comparison, in enacting the Freedom of Access to Clinic

  Entrances Act (the “Access Act”), 18 U.S.C. § 248, the Senate similarly

  found that the prohibited conduct, the physical obstruction of facilities

  providing reproductive health services, was “beyond the scope of local

  and state authorities.” Norton v. Ashcroft, 298 F.3d 547, 559 (6th Cir.

  2002) (citing H.R. Rep. No. 103-306, at 9, U.S.C.C.A.N., at 706).

  Additionally, however, the legislative record of the Access Act also

  indicated that there was a “national market for abortion services[,]”

  and “Congress concluded that the clinic blockades and violent protests

  proscribed by the Act forced clinics to close, caused harmful delays in

  the provision of medical services, increased health risks to patients, S.

  Rep. No. 103-117, at 14-15, and caused millions of dollars of damage to

  reproductive health facilities, H.R. Rep. No. 103-306, at 7.” Id. at 558.



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  As such, the Access Act has been upheld as a valid exercise of Congress’

  commerce power.

        Nevertheless,   with    regard     to   Congress’   finding   that   the

  obstruction of healthcare facilities was a nationwide problem beyond

  the control of the individual states, the United States Court of Appeals

  for the Seventh Circuit explained:

        We agree with the district court that this finding, standing
        alone, does not justify Congress’s power to enact the Access
        Act. As the district court noted, it is not enough that a
        problem is national in scope or that local officials are unable
        to control the problem. Rather, the activities must
        substantially affect interstate commerce. Thus Congress’s
        finding that the problems of reproductive health facilities
        are national in scope adds little to the relevant inquiry.
        [United States v. Wilson, 73 F.3d 675, 683 (7th Cir. 1995)
        (internal citation omitted).]

  In holding the Access Act constitutional, the Sixth Circuit likewise did

  not rest its holding on the fact that the Senate found the proscribed

  conduct beyond the control of local authorities, but instead reasoned

  that “the Act, unlike the Violence Against Women Act’s civil remedy

  provision, regulate[d] activity . . . that has a direct economic effect” and

  explained that while the statute did not contain an express

  jurisdictional hook, “[g]iven the detailed congressional record, [it was]

  satisfied that Congress had a rational basis to conclude that the


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  activities prohibited by the Act disrupted the national market for

  abortion-related services and decreased the availability of such

  services.” Norton, 298 F.3d at 556, 558.

        Here, Congress’ determination that the unique circumstances of

  FGM place it beyond the ability of any single state or local jurisdiction

  to control is not coupled with findings indicating that the proscribed

  conduct impacts interstate commerce nor is there a single House or

  Senate Report indicating this. The criminal statute was never debated,

  and Congress did not hear testimony concerning the law or the basis

  upon which it could be enacted.

        Lastly, in Morrison, 529 U.S. at 617, the Supreme Court

  “reject[ed] the argument that Congress may regulate noneconomic,

  violent criminal conduct based solely on that conduct’s aggregate effect

  on interstate commerce.” In doing so, the Court was recognizing the

  principle that “[t]he regulation and punishment of intrastate violence

  that is not directed at the instrumentalities, channels, or goods involved

  in interstate commerce has always been the province of the States.” Id.

        Notably, here, the activity being regulated has absolutely no effect

  on interstate commerce, and any connection to interstate commerce that



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  might be imagined would be sufficient to render virtually any conduct

  within federal control. As the Supreme Court has cautioned, although

  Congress clearly has power to regulate interstate commerce, and that

  legislation can extend to the regulation of purely intrastate activity, the

  scope of the latter power is limited and “may not be extended so as to

  embrace effects upon interstate commerce so indirect and remote that

  to embrace them . . . would effectually obliterate the distinction between

  what is national and what is local[.]” Jones & Laughlin Steel Corp., 301

  U.S. at 37. Rather, something more than a “relatively trivial impact on

  commerce” is necessary. Lopez, 514 U.S. at 559. Here, there is simply

  no link between the activity being regulated and interstate commerce,

  and the statute must fail.

                                 Conclusion

        Dr. Nagarwala, Dr. Attar, and Mrs. Attar respectfully request

  that this Court dismiss counts 1, 2, 3, 4, and 5 because Congress lacked

  authority to enact 18 U.S.C. § 116(a).

                                     Respectfully submitted,

  Dated: 7/27/2018                   /s/ Shannon M. Smith
                                     SHANNON M. SMITH
                                     Attorney for Jumana Nagarwala



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  Dated: 7/27/2018                   /s/ Molly Blythe
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  Dated: 7/27/2018                   /s/ Mary Chartier
                                     MARY CHARTIER
                                     Attorney for Fakhruddin Attar

  Dated: 7/27/2018                   /s/ Matthew Newburg
                                     MATTHEW NEWBURG
                                     Attorney for Farida Attar




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                           Certificate of Service

        I hereby certify that on July 27, 2018, I electronically filed the

  foregoing document with the Clerk of the Court using the ECF system

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  A hard copy has been mailed via the United States Postal Service to

  those who are not enrolled.

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